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                EXHIBIT 70
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                                                                U.S. Deparrrnent of Justice
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                                                                 W11.1lii• IX'' '"· D.C. 2/15.l7


                                                                       APR 1 9 '?JJU7
           AmerisourceBergen Drug Corporation
           2100 Direcrors Row
           Orlando, Florida 32809



                                        ORDER TO SHOW CAUSE AND
                                   IMMEDIATE SUSPENSION OF REGISTRATION

                   PURSUANT to Sections 303 and 304 of the Controlled Substances Act,              ~'.l   U.S.C. §§ 82J
            and &24,

                      NOTICE is hereby given 10 inform AmerisourceBergen Drug Corporal.ion ("Respondent"')
           of the immediate suspension of Drug Enforcement Administration (DEA) Cenifii~ate of Registration
           RA0210409, pursuant to 21 U,S.C. § 824{d), because such registration constitute> an imminent
           danger to the public health and safety. DEA Certificate of Registration RA021WI09 is assigned to
           Respondent's Orlando Distribution Center. Notice is also given to afford Rcspa11.dcnt an
           opportunity to show cause before the DEA, at DEA Headquarters, 600 Anny Navy Drive, Arlington,
           Virginia, on June 4, 2007 (if Respondent requem such a hearing), as to why DEA should not revoke
           its registration pursuant to 21 V.S.C. § 824(a)(4), and deny any pending applicati::ms for renewal or
           modification of such registration pursuant to 21 U.S.C. § 823(e), bee.a.use Respondent's continued
           registration is inconsistent '-'<1th the public interest, as that term is defined by 21 U.S.C. §§ 823(d)
           and 824(a)(4). The basis for this Order to Show Cause and lmmediate Suspensioti of Registration is
           set forth below:

                  l. Respondent has failed to maintain effective controls against diversion of particular
            controlled substances into other than legitimate medical, scientific nnd industrial :.:hannels, in
            violation of21 U.S.C. §§ 823(b)(l) and (e)(l). From January l, 2006, through Jcinuary Jl, 2007,
            Respondent distributed over J.8 million dosage units of combination hydrocodone products to
            customers that it knew or should h<ive known were diverting the hydrocodcme im) other than
            legitimate medical, scientific and industrial channels. Hydrocodone, in the formulation that
            Respondent distributed, is a schedule m   narcotic controlled substance that is add ctive and widely
            abused.

                  2. Several of Respondent's largest purchasers of hydrocodone in 2005 and 2006 were
            phannacies engaged in schemes to dispense controlled substances based on prescriptions that are
            issued for other than a legitimate medical purpose a.nd by physicians acting outside the usual course
            of professional practice. These pharmacies distriboted large amounts of controlled substances based




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         on orders placed by cm.comers using various Internet websites. Pr<ictitioncrs then "approved"
         prescriptions for controlled substances and sent them via lhc Internet or facsimile to lhe dispensing
         pharmacies. In many instanccs, the prescribing and/or dispensing of controlled st:bstaoces violated
         state bws.

               3. From January 2006 through January 2007, Respondent distributed appro:dm;:itely 1,006,300
         dosage units of generic and brand name hyclrocodone and hydrocodone combinati.on products to
         Grand Pharmacy (Grand). of New Port Richey, Florida, under circumstances that :!early ind icatcd
         that Grand was engaged in the diversion of comrolled substances.

               4. Respondem also supplied generic and brand name hydrocodone and hydrocodone
         combination products under similarly suspicious circumstances to Discount Mail Meds, LLC,
         Medassist RX, LLC, and Avee Pharmacy, !uc., among others. Respondent distnbJted hydrocodone
         under the following circumstances that should have t1le11ed Respondent that the pl .armacies were
         diverting hydro co done:

                   a. Respondent distributed hydrocodone to each of the named pharmacjes. and others. in
         amoums that far exceeded what an aYeragc pharmacy orders lO meet the legitimate needs of its
         customers. Respondent knew rhat orders of an unusual siL:.e were "suspicious" as \hat term is med in
         21 CF.R. § 1301.74(b).

                     b. Respondent distributed hydrocodone 10 each of the named pharmacies, and others.
         even though the pharm<icies ordered small amounts of other drug products relative to the
         pharmacies' hydrocodone purchases from the Respondent. Respondent knew ordr::rs for large
         amDunts of bydrocodone in combination with ::;mall amounts of other drug products deviated from
         the normal pattern of orders pbced by pharmacies. Respondent knew lhat orders that deviate
         substantially from a normal pattern were "suspicious" as tbac term is used in 21 c.:F.l<. § 1301.74(b).

                    c. Respondent distributed hydrocodonc to each of the named pharmaci1~s. and others,
         even though the pharmacies ordered hydrocodone much more frequently than Respondent's other
         pharmacy custom(;rs. Respondent knew that orders of unusual frequency were "s~spicious'' as that
         term is used in 21 C.F.R. § 1301.74(b).

                    d. Public information regarding several of Respondent's pharmacy cuslorners was
         readily available to Respondent. Had Respondent attempted to learn about these pharmacies prior to
         filling the suspicious orders placed by the pharmacies. Respondent would have knc,wn that many of
         r.he named pharmacies were filling prescriptions that were issued by phy.dcians act ;ng outside the
         usual course of professional practice in violation of 21 CF.R. § 1306.04. Specificr::lly, the
         prescriptions filled by the pharmacies were issued by physicians who did not conduct a medical
         examination of the customers. but rm.her w10te prescriptions for controlled sub~tan;;es that were
         ordered by customer~ over the Internee.

              5. On August 10, 2005, DEA personnel met with Steve Mays. Respondent's Director of
         Regulatory Affairs, to inform him about the common characteristics of pharmacies that diven large
         amoums of controlled substances by filling. inv::ilid prescriptions obtained by customers 11sing the




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         Internet_ DEA personnel reminded Respondent that, under 21 U,S.C. §§ 823(b)(l) and (c)(l).
         Respondent was rcsponsib!e lo prevent the diversion of controlled substances. Ncrwithstanding the
         inform:Hion provided to Respondenc, after the August J 0, 2005 meeting, Respond1:ut sold over 5.2
         million dosage units of hydrocodone to pharmacies th.al bore the characteristics th;lt DEA described
         in the August to, 2005 meeting. Respondent continuerl w sell controlled substances to Grand,
         Discount Mail Meds, and Medassist even though Respondent Jene\),/, or should have known, that
         these pharmacies were diverting comrolled substances into other than legitimate medical, scientific
         and industrial ch.aTlJlelS. In January 2007. Respondent sold approximately 287,70(1 dosage uniL~ of
         hydrocodone to Med assist, 184,200 dosage units to Discount Mail Meds, and 128.000 dosage units
         !o Grand. In February 2007, Respondent sold approximately 196, 100 dosage unit~; of hydrocodone
         to Medassist and 172,100 dosage units lo Discount Mail Meds. Respondent continues to sdl
         controlled substances to Discount Mail Meds.

                IN view of rhc foregoing, and pursuant to 21 U.S.C. §§ 823(b), 823(e) and 8:l4(a)(4), it is my
          preliminary finding that Respondcrn has failed to maintain effective controls against diversion and
          that the continued registration of Respondent would be inconsistent with the public health and
          safety. Moreover, it is my preliminary conclusion that Respondent's continued registration while
          these proceedings arc pending would constitute an imminent danger to the public health and safety
          because of the substantial likelihood that Respondent will continue to supply phannacies that divcn
          large quantities of controlled substances. Accordingly, pursuant to the provisions •Jf 21 U.S.C.
          § S24(d) and 21C.ER.§130l.36(e). and the authority granted me under 28 C.F.R. § 0.100, DEA
          Certificate of Registration R.A02 l0409 is hereby suspended, effective immediate!)'; such suspt:nsion
          shall remain in effect until a final determination is reached in these proceedings.

                PURSUANT to 21 U.S.C. § 824(f) and 21 C.F.R. § 130l .36(f), the Special /Lgcnts and
          Diversion Investigators of !:he DEA who serve this Order to Show Cause and Irnrw:diate Suspension
          of Registration arc authorized tO place under seal and/or to remove for safekeeping al1 controlled
          substances that Respondent possesses pursuant to its rcgistrarion, which l have herdn suspended.
          The said Agents and Investigators are also directed to take imo thcir possession Re,pondcnt's DEA
          Certificate of Registration and any 1muscd order forms.

                THE following procedures arc available to Respondent in this matter:

                 1. Within 30 days after the date: of receipt of this Order to Show Cause and Immediate
          Suspension, Respondent may file with the Deputy Administrator of the DEA a written request for a
          hearing in the formsetfonhin21C.F.R.§1316.47. See21C.F.R.§1301.43(a). !fRcspondent
          fails ro file such a request, the hearing set for June 4, 2007, sh.all be ti::rminatcd in a,:cordance with
          pa.ragrnph 3, below.

                2 Within 30 days after the date of receipt of this Order to Show Cause and Immedi3.tc
          Suspension of Registration, Respondent may file with the Depmy Administrator a waiver of hearing
          together with a written statement regarding Respondent's po:;.ition on the malters    or
                                                                                             fact and law
          involved_ See 21 C.F.R. §1301.43(c).

                3. Should Respondent decline to file a request for a hearing or, should Re:;poaclent rcquesl a




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           hearine and then fail to appear at the designated hearing, Respondent shall be deemed to have
           waived the hearing and the Deputy Administrator may cancel such hearing, and may enter her final
           order in this mattu without il hearing and based upon the investigative file and the record of this
           proceeding as it may then appear. See 21 C.F.R. §§ 1301.43(d), 1301.43{e).

                Correspondence concerning this matter, including the requests referenced in paragraph l and 2
           above, should be addressed to the Hearing Clerk. Office of Administrative La~, Judges, Dxug
           Enforcement Administration, Washingtm1, D.C. 20537. Matters 1ue deemed filed upon rec-dpt by
           the Bearing Clerk. See 21 CF.R. § 1316.




                                                            Deputy Administrator




           cc: Hearing Clerk
           Office of Adminis trative Law Judges




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                                             REQUEST FOR HEARING

                  Any person desiring a hearing with respect to an Order to Show Cause must, within thirty
          (3 0) days from receipt of the Order to Show Cause, file a request for a hearing ir1the following
          fonnat:

                                                                          [DATE]

          Hearing Clerk
          Office of the Administ1a1ivc Law Judges
          Drug Enforcement Administration
          Washington., D.C. 20537

          Dear Madam:

          The undersigned, [Name of person], hereby requests a hearing in the matter of [1 ::l.entification of
          1he proceeding).

                          (A) [ST.ate with particularity the interest of the pcr.>on in the proc(:eding.]

                          (B) [State with particularity the objections or issues, if any concerning which the
                              person desires to be heard.]

                          (C) [State briefly the position of the person with regard to the particular
                              objections or issues.]

                          (D) [Name (either registrant, applicant, or attomcy), address (inc·.ud]ng street
                              address, city, state and zip code), and telephone number (inch.ding area
                              code) of person to whom all subsequent notices or mailings in this proceeding
                              should be sent.]

                                                                  Respectfully yours,

                                                                  (Signature of registrant,
                                                                  applicant, or attorney)

           Note: Pursuant to 21 CFR l 316-4 7(b), the Admini$trative Law Judge, upon reqJe:st and
          ·showing of good cause, may grant a reasonable extension of time allo'Ning for n::sponsc to an
           Order to Show Cause.




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